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Pace 310

LED FAR YIN
Tears ?
A Wrong? Void?
Q So you are taking a guess; you

don't really know what it means?

A I just relied on this werd voia.
Q Do you knew what ab initic means?
& TI am sure it was mentioned ta me,

but To cannot remember.

Q Did you ask what that meant
before you signed it?

A No, i think it was tolG@ te me.

2 Before you signed it ov after you

Py

signed it?

A Before.

G What do you think it means?

Void, null.

Q [Tzom the beginning or as of the
time that -- as of today?

A From the beginning.

OQ Why was if impoxtant for it to be

voided from the begimnirns?

BA Because it is wrong.
Q And it is wrong because --
B it is not necessary.

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1 LEEK KAR YIN
2 O Se, in your view today, it wasn't |
3 necessary for you to sign an assignment from |
4 : Wave to Wave Design Pke. because the
5 eopyrighks in Wave-S automatically went back |
6 to you, right?
F A yes.
& Q Why, then, diG you sign Exhibit I
9 in 2007?

10 A Because --

lL: MR. TOKE: Objection, migsstates
12. her testimony. She told you when she

13, signed it.

14 You saic 2007.

15 THE WITNESS: did. J Gic.

16 Many times I did.

17 BY MR. SCHWARTZ:
18 ! G Wait, wait. bet's get this

1.9 straight. So it is dated in 2007, right?

20: Why is it dated 2007?

21 MR. TOKE: Asked and answered.

22 BY MR. SCHWARTZ:

23 G Why is it dated 2007?

24 A Before the company was, went into

25) cessation,

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LEE KAR YIN

the U.S. Copyright Office, right?

is Yes.
Q And it is all wrong?
A My mistake. In one thing te

record everything correctly, IF thought it
should be registered. It should be recorded
as Wave-S doing all this work. Whichever
entity did whichever work, it should he
recorded correctly.

O It should be recorded correctly
because Wave Pte. Ltd. didn't want to assign
its covyrights to Wave Studio Fte.?

A No. They were already assigned

to tly mame.

QO So, it ts your position now, today --
A What do you mean now? I said
this -- sorry.
9 So it is your position now --
A { said this during deposition one.
G Sa, if is your position now, in

2015, that from the year 2600 to the year
2010 you individually owned alt the capyrights?
A For Wave-s.

Q AnG all the documentation that

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lLkk KAR YIN

you have presented bofere and all the
documentation Lhat has been filed with the
copyright office is null and void, right?

AR No, it just need to be corrected.
The name, tne photo titles are corredt.

oO But the ownexsship is incorrect, right?

A instead of my company, instead of

my conpany, it snould be my name.

QO Because you say so?
A Ne, because -- because Singapore

law requires for sole proprietorship it is
automatic. ‘There isn't anything that you
need to record. Whatever Wave-& owned upon.
cessation, it goes back to the sole
Proprietor. For a private limited company,
you have to follow the procedures. ‘The
company is not sllowed ta strike off if you
did not do ~. there is a checklist for it.
If the company has a Gebt, if the company is
in lawsuit, you are only allowed to strike
eff omce they ascertain that the company
does not Have any more asset, no debt, no
suit. That means the company is clean.

Then only you are allowed Lo strike off.

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LEE KAR ¥IN
Lee Kar Yin. These ‘jobs cannot be orphan.

Q What made you think that you had

to create Exhibit I to transfer the copyrights

from Wave Pte. to Wave Studio Yre.?

A Well, whem I first heard the term
mune pro tume, which means now for then, I --
Q When did you first hear that

expression?
MR. TOKE: Can we go off the

record for a second? I am getting a

call about a family, my family. Just

for a second.
MR. SCHWAR'I'%: Sure.
(Brief break.)
BY MR. SCHWARTZ:

0 When did you come to the belief
that Exhibits #& and Y and the other exhibits
in deposition Exhibit 17 were null and void?

A Actually, thank you for pointing
it out during deposition one. t wouldn't
know because copyright registration is not.
required in Singapore. Jl have never gone
through any of this. What your call

assignment, or recordation, I have never

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LER KAR YUN
done any of this before.
Se, we spent such a Long time

going through all. these decuments during the

first Geposition, it made me think tha: what
is wrong with my, what is wrong with my
7 registration? What did | do wrong?

9 So you came to the conclusion that
you did something wrong with your registration,
and you wanmted to correct it so that you

would own all of the copyrights, right?
Ay tn the Cirst place, I do own all

the copyricghts. So, if L recorded it

wrongly or inaceurately, I need to correct
them, anc I have every right to correct
them. And correcting them is even more
expengive. 13 just want them to be recorded
accurately if there is anything else that is
not accurate.

o So, it was your intention always,

fron 2000 through 2012, thal you

imdividually owned the copyrights?

B it actually belonged to the

company. FE never thought too much about

things like that. So, my sole purpose is

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Appearing Tor the Plainhiff:
MR. VGiJAY ‘ORL
COBALT LAW LLP
G16 Parker Street, Butiding AAT
Ferkley, CA 24710

Toa lophane: (510) 841-9800

Appearing Lor the Defendant:
ME. HOWARD J. SCHWARA
CHTRSA SHAHLNLIAN & GLAN'TOMASL bC
One Beland Drive
West Grange, Nd O7052

Yelephone: (9/3) 330-2031

Alse present:

Ms. Lee Rar Yin

VIDECGGRAPHEFR:
Chee Meng Chen

Flex Video Proguctions

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14:25:47

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24:20:39 28 Lbhel you Bave, yon kriow, which is & Unree --

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23 Seprember 2015

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23 September 2015

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23 Seplember 205

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20:37:23 24 Sure.

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23 September 2013

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22 Seplember 2015

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23 September 2)3

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25 September 2015

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23 Sopember 2015

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Varser ss 28 Rl Well, certeiniy not in writing. Grel
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23 Seplember 2015

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23 Seplumder 2015

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23 Sepsember 2015

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23 Seplember 2015

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IS:£S:9. 16 Bh. Yes.

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25 Sepleniber 2015

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& Court Regncting Pranseript by DTT
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23 Septeruber 2065

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23 Sepsember 2(113

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23 Supleenber 2015

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F 9. Your answer 6s no, therets no possibilinyt

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Page 87
A Court Reporting Tniaseripr by DT]
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23 September 2045

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A Crone Reparting Transcript by DT]
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23 September 20415

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Page 95

A Court Reporting Transenpt by PYF I
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23 Seplensiber 2015

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A Const Reporting, Lraaseript oy DTT
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25 September 2415

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A Court Rengrtisay Vransuripl by OTE

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A Court Reparting Transcript by DTT
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Exhibit F
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 65 of 120

36A Sago Street Singapore 059027. 1 (65) 62727 3700 F (65) 6227 3971

| production estimate
client Mr Andre Keetschmann ~ The Chedi, Muscat
product The Chedi, Muscat - Corporate Brochure
yorsion 1
date Sth February 2003
descripthen Designing and overseeing production ( up to colaur separation stage ] of
a

wena

Corporate Srochure ( Engtish } - 28pp Inctunding cover, tracer and

pocket
including Gpp tariff Insert for The Chedi, Muscat

CHARBES_.. - ann sau, 5 $

t. Design Concept > $ -

2. Layout f Art Direction : $ 2,000.00

3. Finished Artwork { Engtish } : $ 3,000.00

4 Copywriting : $ 400.00

5. Colour Indication and Films Checking : $ 500.00

6. Studio materials { Col, prints, Art cords & etc } : §$ 600.10

7, Mise. ( Transpartation, Phone, fox, Courier & ttc} : $ 500,00
- & Colour Separation : $ 3,605.00

8, Printing ~ Brochure and Tariff ( 16,000 sets } : $ 14,892.80

TOTAL : $25,397.80

Hote ¢
The involee amount Is the amaunt due ziett of any appllcabte

estimate prepared by .  chent's approval

date. Sth Frituary 2003 __ gate

© Terms of payment, 50% an commeacement, bafaace on com pietian.
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* [his és an estimate only. A subsequent change in specifications ar bricfing witli necessitate a revised auate.
«We will proreed on the basis that this estimate is wholly acceptable uniess advised to the cantraty

ia weiting before the werk is undertaken,
= 5S interest will be charged frum due date af all invaices f dedit aotes until full payment is made.
F We reserve the intellectual property cupynght To all designs { projects undertaken,

TWS0359581
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Exhibit G
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 67 of 120

From: jlee <jlee @thewave-studio.com>
‘Subject: Re: Interior Dasign magazine - photography. credit {or the Cheat Muscat
Date: Soptamber 27, 2007 1:49:40 PM SST
To: <ghmadmin@sinsnet.com.sq> .

Hi Alvin,

|-don'l mind raplying her Asroctty but wis not appecpeiater
So, «inely adviso her to place in The Wayo Studio.
That is our Standard crodit.

Gheers,
jr

On Sep 27, 2007, at 10:18 AM, Aivin Fong weote:
til Junto, .

Do you wart reply lo tes below? Or sa thero | B standard Gfcdll wa can give out to shyhedy?

* Thank yusl Ane remain wih bes! rogers
Alva Fong °°

. Guntral Hotal Msnazaimat Lil

* No.1 Cuctiard Safizy Lana
#O4-0% Tourben Coun
Singapsiry 247729

Tel: (653 6 223 3755
Fax: (G5) G 221 1535 .
. E- nia * Stage syanhotel

seventeen ° bw ewe geen eee eee © 80 oy twee e neg mere rnremenmarseracea: cece em | . 2 ogee eee

Froas: 1 Edad, Mephirn (DIALS) Lavaillin:
Sunk; A: wursday, Sentemter 77, 200? 3:09 2M,

Yo.

Subject; lntealor Desa mecezine - phstagrashy crocit for the Cadi Muscat
Importance: Filo

‘Deer Aten Fond,

inn writing on behalf of Intewaf Design rsagezine. Were usirg an kaage shat you eval va of Ihe Cradl Mussel be Oman In ur Grmetar fesue..
What shoutd the plainerasiny crade. be for this mage?

as #oru on deadline, aigase raspond cs Soe 96 yOu racetva this.
daily thanks,

“D dMrsghinh, Es’eeanda

Eciihuivet As nlelant

Interlor Lesign

SGN Mare Avensa Soute, 17a Fl.
Naw York. WY 10216

Bdk. #8. fee

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Exhibit H
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 69 of 120
: Page i of 2

See Soo Eng - GHM

‘From; © "See S00 Ena - GH" <scoangg8ghmhetels. com>
Tol “Hifiief Léa” <a Ge Viae-dasign.com>= “ee -
Cc: "Sheaanr Hardy" <gm@icheddi-chiangmai.comn>
Sent: Tuesday, May 16, 2006 12:43 PM

Subject: Fa. Update photo shoot
Dear Jr

Besides what you think is best representing The Chedi, Chiang Mai, please ses list of pictures thes | require:

Day pices ahyays gee _
1. Hotel from streets tives woes ~
2. Reception counter f et
3. Lobby Lounge eee “ener?
4, Shop."
§. Hetel ground, 1.9. garden, weter gardos
6. Sp2 entrance, recapfion, shop, lreatment room - single anc double, after treatment area
7, Restaurant exterior, i.e.
oN . House
(. } b. New section restaurant (please take from Riverview}

. Seating within restaurant & exterlor casual seating
Seating within new sectlon
. Open plan kitchen
f, Howse - upper section f Insida and outside seating
g. Terrace Bar on 2nd tevel
h. Bar on ground ievel
. Gym & yoga roan
. Meeting room - set-up:
a. In smalier room f hoardzoom
h, Larger room as cluster style and U-shape
20. Pact
11. Guestroom - please retake:
. Deluxe Roum
. Clue Suite - oedracm and sitting crea
. Bafcony, oxterios, i.e, taka it from top uf spa house ta show size cf atcony with daybed
. Eeteance gate of guestioom
_ Courtyard of cuestroon), please show wilh an epen "swing door’ of Clue Suite
Washracm / shower / talhteb of Deluxe room and Glub Suite
.. 12. Club Lounge plus open-end terrace
& j
“Hanks & cegards
. cee Soa Eng
Glentar af Sales & Marketing

poogrp

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7 Oa a of

am,

GIIM Sales Office:

No. 7 Orchard Spring Lane 406-02 Tourtsm Court
Singapore 247729

Email: ,cosagtinhmbhotels.com

Tel: (65) 6 221 5250

Fax: (653 6 221 6272

lov) foll-Free Tel: G9) 800 65 1188 (Thailand)
Visit aur website @ wrew.ehmubotels.com

The Nam Hei, oi An, Vienam opening December 2006

-.-. Criginal Message -----

16-May-P F086

CULM 4s
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Exhibit |
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Page 1 of 1

‘é See Soo Eng - GHM

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From: - "See Soo End> GH “sdoong@glunhetels:com= Sees
Tet “ “irlee" <jlse@thewavo-cesign, cans 7
Ge: “Eteaaor Hardy" <gm@ichedi-chiangrrai.cem>
Sevt: Wednesday, May 7, 200 12:40 PM
Subject} Ro: Update phete shock
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Dear Jr
Please elso indie imege oF freplace atinbby, —-~
Regarts \

See Soo Eng
Cirecior of Sales & Marketing

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GIIM Saies Offica:
No 1 Orchard Spring Lane #04-02 Tourism Courl
Singapore 247729
Email: scoeng@ghmhetels.cam
yew, Fel, (G5) G 221 $250 5
Ce Fax: (@8) $ 221 G2v2 ‘t
Intl Toll-Free Tel! 004 860 65 1188 { Thailand)
Visit Our website @ wvw.ghritiptels.com ~

Tae Nam Hai, oi An, Visinam opening Decernber 2006

——- Original Message -----

From: jf lae

To: See Soo Erg - GHM

Ce: Elesner Hardy

Seat Tdesday, May 16, 2006 2:68 PM
Subject! Ret Update phete shoot

Bear Son Sg,
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Appreciale !he scmershensive fist.

Bost recarrs,
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1/-May-2096

GHM GG144
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 72 of 120

Exhibit J
Case 7:13-cv-09239-CS-VR Document 182-2

See Soo Eng - GHM

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Page 1 of t

2 ee ree come

From: ""S@e'Sod Eng - GHM" <sooeng@ghmhotsls.com-> ~
Ta; °° 7 “BiBaner Hardy” <gm@chadi-chiangmatcanis ~

Cc: "Junio: Lee" <lee@thewave~iesign.com>

Sent: Saturday, November 438, 2066 1:17 PM

Subject: List of Arass for Tne Chedi, Crlang Mal Phota Shoot
Dear Eleancr
Betow the tist jor photo shoatiag ot 10 December, Tlurahl

Day Pichise Alwaya

4 Ilolel fram siraet fryer
2 Reception canter
3. Loiby Lounge
4. Shop
5. Firep!ace at lobky
é. Hotel orotic? he, garden, water ga-con
T. Spa anirance, raceplon, shop, eaiment oom — singla and double, after lrealnicnt aca
8. Reslaurant extecior, i.e.
oT a. Vows
‘ b. New seckon restau-ani (ploaso fake trea Riverview
G Seating within wuslauracit & exledar casual sea‘iIng
d. Sealing within nev secticn
t. Open plan kitchen
f, House - ueper section / Inside and outside seating
4- Tesrace Bar on 2™ Jovel
h. Ber on ground leve>
9. Gym & Yoga Rocm
19, Mseting Roam — sct-iy"
a In smallat raom / boardrocn
b. Larges Fnorr 48 Gluster style and usnepa
11. Pool
Vz. Guesiroom + pease fetske:
a, Celuxe Room
b. Tire Chadi Cb Sulle - Sedraom ard enting ares
uh Balcony, cxlorior ia, take il fm lep of spa heuse lo show size of balcony wath daybed
d. Entranes gale cf quesircom
u. Courtyard of guestrocia, pluase shove wilh an open “saing door of Clud Sulte
5 2, ‘ashrucns ! shower / balnjun of Deluxe Racra and Club Suito
: 13. Clut Caungs gus open-end terrace
Regards

See Soo Eny
Director cf Ssles & Marketin

GH Sales Offce:

No. 1 Orchard Spring Lane 1104-02 Touriss Court
Singapore 247729

Email: sceengMenmahotels.com

Tel: (65) 6 221 250

Fax: (65) 6 221 6272

int'l Toll-Free Tel, 901 00 65 188 (Thailand)
Visit our website @ waw.ghmhotels.com

The Nam Hai, Hoi An, Vietnam cpening December 2005

18-Nov-2006

CiliMd tees
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Exhibit K
Case 7:13-cv-09239-CS-VR Document.182-2.... Filed 05/06/16 Page 75 of 120
° Page ioft

Sov eng
‘From: "See Soo Enc" <sooeng@ghmhotels. com>"
To: eo ee oo "Jr" <jlee@lhewave-cle sign, com> . ee ce mcees 26 cee cw eee we ee
Ge: "John Laing" sjohnaiaing@ghmrhotels.com=>
Sent: Wednesday, May G2, 2607 2:46 AM
Subject:  photogsapy at The Nam Hai, doi An
Heila Jr
glad to hear the ageve is happening. my request cn area of photography required:
Tennis Court
Gym

Spa « reception, spa vila sitting an lagocn, treatment rcconis
Hotel Entrance towards Reception
Receptian
Boutique
Miceting Room (hotel to set up for maximum seating - preferably 2 difiercnt set-up)
Library
Restayrant Entrance
Bsr
Restaurant intarior
Restaurant - outdoor seating
“~~ 3 ponis picture together all the way to each

”
_\. SBéach restaurant
“ Sach restaurant - outdoor seating
locking at hotel iram peach
looking at hetel from ses
Rooms: interior- bed area, dressing and wash basin, sittig area
Exterior - rows of t-bedroom villa {no poc! villa}

Reol Villa - Entrance, Garden with fountain an backgiound, private poal within

‘thanks Jz, have fun
(egards

sae Soo Eng

Diréctor of Sales & Marketing

GHM

4 Orchare Spring Lane #04-D2

Singapore 247729

Tel: (65) 6221 S256

Fax; (85} 6221 6272

Intl foll-fee tels; 001 200 45 1188 (Thailand)
.- Www. ghmhatels.cam
‘2 yraw, ghmluxairyhotets.com

The Nar Hai, Hoi An, Vietnam opens 7 December 2006

oo ea
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02-May-2007

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Exhibit L
Case 7:13-cv-09239-CS-VR Document182-2 Filed 05/06/16

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From! Astrid Diuensjah <loyalty@thelegianball.cont>

Sent: Friday, October 06, 2006 10:08 PM

To: jiee

Cc: GENERAL MANAGER; DIRECTOR OF MARKETING; SALES ADMINISTRATOR
Subjcct: RE: The Beach House Images

Importance: High

Dear Junior,

Please note that The American Airline ang Conde Nast Traveter will fealure the Beach House for their next edilion, would
highky appreciated if you could send the CD and anive ASAP, Monday the jatest. - .

Thank you,

Astrid

Sent; “Friday, October 06, 5008 8:10 aM

To: jice

Cc SALES ADMINISTRATOR; DIRECTOR OF MARKETING
Subject: RE: The Beach House Images

Dear Ms. Lee,
That's greatl Looking forward to it!

Regards, °
Astrid

—~-Original Message-----

From: jiee [miailto:jleea:thewave-design.com]
Sent: Shursday, October 05, 2006 6:09 PM
To: Astrid Djuansjah

Subject: Re: The Beach House Images
Importance: High

Deur Astrid,

‘The photo DVDs are ready and once Mr Ohletz have approved them,

they will sent to you this Saturday by GHM'‘s office.

‘Chanks and best regards,
ir

GHM 00802
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 78 of 120

See y

On Oct 5, 2006, at 12:08 PM, Astrid Djuansjah wrote:

Dear Ms. Lee,
Just wondering how is the progress of the above subject? Hope we could have them by late this week??
We've been having lots of requests fram medias. Please advise.
Thank you. .
- wr. Bestragards,
se Ashid Djuansjah
Loyalty Program Manager
GHM Et lotels, Bali
Clo The Legian
Jalan Laksmana, Seminyak Beach
Bali 80361, Indonesia
Tel (62 361} 730-822
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Exhibit M
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? CERTIFICATE OF ACKNOWLEDGMENT OF
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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 81 of 120

ASSIGNMENT OF COPYRIGHT

This Assignment is mada and entered inte with sffect fram 15 FEBRUARY 2007 {the
“Effectiva Date”)

Between

(1) WAVE-S, a businass registered in S.ngapore (Registstion No. §0153300A) with iis
registered adcéress at 46, SOUTH BRIDGE ROAD, #04-02, KINGLY BUILDING,
SINGAPORE 058679 (‘‘Assignor’);

and

(2) THE WAVE DESIGN PTE. LTD., a company registered in Singepers (Registratian
No. 200586995G) with its rogistered address at 10A, TRENGGANU STREET
SINGAPORE 058464 {“Assignee"”).

Whereas

(fs) Assigrior is the proprietor of the rigs in several works (“tha Works") details of
wtilch ara sot oul in the Annex annexed hereto.

(B)  Assignor wishes te assign to Assignee the copyAght in the Works ang all its right tite
and interest therein upon ihe terms and conditions set cul beiow.

Now Therefore, far good and valuable consideration paid by Assignee to Assignor, receipl
of which ts hereby acknowledged:

(i) Assigngr hereby assigns to Assignee and its successors and assigns absolutely all of
iis right, title and interest in and to the copyright in tha Werks {"Copyrights"),
whetner prasant or future, anywhere, including derivative oghts, renewal rights ard
interests, statutory and common lay intellactual property fights snd mcral sights, all
future eralions and variants in any stcrage or transmission medium, snd tha full and
exclusive benefit thereof and all rights privieyes and advantages anpertalning
thereto together with the right to recover, and take al} such pricenditgs as may be
necessary for the recovery of, damages or other forms of relief in respect of all
infringements of the Cepyrights whether taking p:ace before ar a*ter the date of this
Assignment to hofd the same unto the Assignes absolutely.

fir} Assignor warrants that iis the proprietor of the Copyrights and holds the Copyrights
free of all lians, charges, encumbrarices and athar nghts of or obligations owlng to
any person,

{iit) The Assigner hereby covenants with the Assignee that ihe Assigror will al the
expense of the Assignee sxecuta, sign and da all such instruments, applications,
documents, acts and things as may reasonably De required by the Assignee to
enable the Assignee or the nominee al the Assignee to enjoy the full benef of lhe
property and rights horcby assigned and to enjoy the exclusiva benefit of any
extension preigngation or furlher giant of copyrights for ihe time being vested in the
Assignee by virlve of this Assignment.

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 82 of 120

ANNEX

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 83 of 120

‘n Witnoss Whereof, the Partios hereto Have exocuted this Assignment hy way of dead on
the dates set forth below, which assignment shall be effective as of Iha Effective Date.

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Exhibit N
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 85 of 120

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 86 of 120

ASSIGNMENT OF COPYRIGHT

This Assignment is made and entercd into with offect from 28 JULY 2008 (the "Effective
Date”)

Between

(1) THE WAVE PTE. LTD, 3 company registered in Singapore (Registration No,
2082010482) with its registered address at 108A, TRENGGANU STREET
SINGAPORE 058464 ('‘Assignor”);
and

(2) THE WAVE STUDIO PTE, LTD., a company ragistered in Singapore (Registration
No. 200508995G) with ils registered address al 10A, TRENGGANU STREET
SINGAPORE 958464 (“Assignee”).

Yhoreas

{&)  Assignor is the propriator of the rights in several works (“the Works”) details cf
which are set oul in the Annex annexed hereto,

{B) — Assignar wishes to assign tu Assignee the copyright in tha Warks and all ils right title
and interest theram upon the terns and conditions set out below,

Now Therefore, for good and valuable consideration paid by Assignea fo Asstgncr, receipt
of which is hereby acknowledgod:

{t} Assignor hereby assigns to Assignee and its successors and assigns absolutely al of
its right, title and interest in and to the copyright in ha Works Copyrights’),
whether prescni or future, anywhero, including derivative rights, renewal rights and
interests, statutery and common law intellectual proporty rights and moral rights, all
future ltoratiohs 6nd variants in any storage or transtnission mediunt, and the full and
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infringements of the Copyrights whether taking place before or after the dato of this
Asslgament to hold the same unte the Assignco absohiely.

fii) Assiqnor warrants that it ls the propzistor of the Copyrights and holds the Copyrights
free of all liens, charges, encumbrances and ather rights of or ohligations awlng to
any person.

(ill) The Assignor hereby covenants with the Assignee that lhe Assignor will at the
oxpense of the Assignee execute, sign and do all such instruments, applications,
documents, acts and things as may reasonably bc required by the Assignee to
anabla the Assignes or the nominee of the Assigned to enjoy the full benefit af the
property and vights hereby assigned and tu enjoy the exclusive benefit of any
extension pralorgation of furlher grant of copyrights for the ime telng vested In the
Assignee by virtue of this Assignment.

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ANNEX

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 88 of 120

in Witness Whereof, the Parties hereto have sxecuted this Assignment by way of deed cn
the dates set forth below, which assignment shall be effective as of the Effective Date.

Execuled as 4 decd for and on behalf of Executed as a deed for and on behalf of
THE WAVE PTE. LTDL TRE WAVE STUDIO PTE. LTD.

| ye _—_ ++
By: _LEE KAR YIN By: LEE KAR YIN
Yirlo: “MANAGING. DIRECTOR Tills: MANAGING DIRECTOR
Date: oY 20084. 5-06 a0H Date: Rade 2860- f 5. OST 29
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_ Witness;
Name:

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 89 of 120

Exhibit O
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 90 of 120

COPXIAGHATS ASSIGNMENT

Tsis Copyright Assigmontit Apcement Agreements) is entered into between The
WAVEF-S (Assignor), a private corapany of Singapare, with da. address of 46 South
Biidge Read, 104-02 Kingly Building, Singapore, 058679, and THe Wave Studio, EEG
(Asstenieci, a New York lieaitc jiability company, with a business-address of One Barker
Avenns, White Plains, New York 10601, atid'valates'te all Copyright works listed on

* AftachtientA (Copyrights).

Por valuable consideration, receipt of whiok is hereby acknowwicdged, Assignor’
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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 91 of 120

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 93 of 120

Exhibit P
Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 94 of 120

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COPYRIGHTS ASSIGNMENT

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This Copyright Assignment Agreement (Agreement) is entered into between The
Wave Pte. Ltd. (Assignor), 2 privaic company of Singapore, with an address of 36 Sago -
Strect, Singapore, 059027, and The Wave Studio, LLC, (Assignee), a New York limited
lighility company, with a business address of One Barker Avenue, White Plains, New
York 10601, and relates to all Copyright works listed on Attachment A (Copyrights).

For valuable consideration, receipt of which is hereby acknowledged, Asstgnor
hereby incevocably assign, grant, transfer, and agree to asyign, grant atid transfer to
Assignee, their succcssors and assigns, all of Assignor' presout and future rights, title ad

interest worldwide, including renowal interests, in the Copyrights, including atl fuiare
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to causes of action and related to the Copyrights, and any and all other tights and interests
arising out of, and in connection with, or in relation lo the Copyti eehits.

Assimor represents aud warrants that i has not granted, assigned, moxtgeged,
. pledged or hypothecated any of the rights granted to Assignee hereunder.

The rights assigned by this Agreement inclade, but are not limited fo, the right to

or reproduce the Copyrights, the right to distribute the Copyrights, the rights to

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crate derivative works, the rights to display the content publicly, the right to renewal or
extend the copyright in the Copyrights to the extent permitted by law In any relevant

jurisdiction, and the night to bring, sttit or make any claim in 1 Assignee’ s name for prior or

future infringement of rights in the Copyrights.

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Case 7:13-cv-09239-CS-VR. Document 182-2 Filed 05/06/16 Page 95 of 120

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Assignor agrees, at the request of Assignee or its suecesser m interest, to do ail
lawful acts waich may be reqnived for obtaining and enforcing worldwide nights in the
Copyrights and to otherwise aid Asstgnes or its successor sn enforcing the rights to the

Copyrights as reasonably required to carry cut or effectitate the purpose und intent of this

Apreement.

IN WITNESS WHEREOF the parties hereto have execu ted this Assignment as of the

effective dats. -

- Tho Wave Pte. Lid {Assignor)
By: a __ Date: \™ Novemecr. Lott

‘Lee Kar Yin, owner

The Way¢ Studio, LLC (assignec) ,
. By: { Dates. UT" nove Bee 201

Lee Ker Yin, owner

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 96 of 120

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 97 of 120

Exhibit Q
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AND TRANSEER OF COPYRIGHES VG LIE RAR, YIN, JROCLAB ATION OF COSNGI

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“SER WAVE DESEGN PNK, [H0), wae & privets Hudted company end npon lis change
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is THE WAVE STODM, ULC as result of fhe above clasolutions aud transfer of copydidhte.

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 100 of 120

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BRCLARATION oF Lith KAR YIN AND
None Pro Tene CoryvrtGaar ASSIGNMENTS TO THE WAVE STUDI LLC

J, Leo Kar Yin, declare as follows:

i. J wish lo clarify and confirm The Wave Studio LI .C’s ownership cf all right, fille,
and interest of every kind und cheracter throughout the world {including ail
copyrights, worldwide rights, derivative rights, renewal cigits, and all rigs to
causes of action and related remedics) in and to my professional photographs,
inciuding without Timdtation the pholographs identified in Bxhibit_A (the
“Photographis”) and the copyrighl registrations ideatified in Lixhibil B (the
“Copytizit Registrations”) as of November 11, 2011 “2ffective Thate”)

Backgy'nnnail

2. On February 21, 1994, T registered the sole propriclowship Wave-S under the laws
. .. of Singapore. (Registration No, 503333004), poses
3, Waye-S owned all zight, title and inturcst worldwide, inckudlng copyrights, in and

0 certsin professional photograpls (Wave-S Pholographs”), itctuding
photogiaphs roudsteyed at the U.S. Copyright Office under the following
Registrution Numbers and Regisiraticn Daivs;

a) VA 1-432-324

b} VA 1-432-325

c} VA 1-432-328

d} VA 1-432-329

e) VA 1-432-336

fy VA 1-433-816

p} VA 1-758-524

h} VA t-828-429

i} VA T-825-43%

j} YA 1-842-230

k) VA ‘L857-706

fy VAu 1-060-182

(collectively, thy “Wave-S Copyright Registrations”)

4, On February 21, 2007, Wave-8 ccased doing business and disselved. A true and
correct copy of the Singaporean government business tecord for Lhe dissclution of
Wave-S is attached as Hy hibit C. .

5, Upon dissolution of Wave-S, ail tangible and intangiblu assets of the sale
proprietorship, including all right, litle and interesl worldwide (including
copyrights) in and to all Wave-S Thotogeaphs was automatically trausferred te
me by operation of Singapore Jaw, No rights were retained by Waye-S.

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 104 of 120

6 Accordingly, 7 correnfly own alf righ, title and interest worldwide, including
copyrights, is and lo the Waye-S Photographs and the Wave-S Copyright
Registrations.

Ou February 8, 2002, The Wave PPE. COD. was incorporated as a private
fuuited company under the laws of Singapore (Corporation Registration No.
MN201048Z). A tras aud careest copy of the Singaporean government latsiness
record for’Phe Wave PTE. LTD, is attached as Exhibit D.

“]

%. F was a dircetor snd shatchotder of The Wave PTE. LLD., together with Mr.
Chua Gat Hog.

% The Wave PPE. LED. owned all sight, sitie, and intecest worldwide, including
copyrights, in and io certain professionat photopraphs (tho “Wave PFE
Photographs”), incleding the photouraphs registered al the U.S. Copyright Office
wader the following Registration Numbers:

a). VA 1432-331
b) VAu 1-057-927

(collectively, the “Wave PPE Copyright Registrations”)

1G. On August 1, 2008, the Board of Pivectors of ‘The Wave PTH, EVD. hiekd an
extraordinary goncval mecting to dissolve the company and ixrevocably assign and
transfer all tangible and intangibic assets owaed by The Wave PTE, LTD, lo ine
as of that date. A tus and correct copy of the corporate minutes reflecting this
yesolution is allashed as Kxpibit F.

LL. ‘The Wave PFE Photographs, iacluding all copyrights therein, were Included in
the asstts assigned hy The Wave PLE. LTD, to me. No rights were tetained by
‘Che Wave PTE, LTR ec by Mr. Chua Biat Hong.

12, Acetrdingly, L currently own all sight, title and intusest worldwide, including
copyrights, in und 1c dhe Wave PTE Photographs and the Wave PTI Copycigtit
Repistrations. .

13, Op July 1, 2005, The Wave Resign PIE. LTD, was incorporated as 2 private
limited compass under the laws of Singapote (Corporation Registration No.
200508995G), A true and correct copy of the Singaporern goverament business
record for The Wave Design PTE, LAD, is attached as Exhibit 1.

14. On July 27, 2007, ‘The Waye Design PTE. UPD. changed its name tc The Wave
Stadio PLL. LED. A true and correct copy of the Singaporean government
business recerd for |he name change is attached xs Gxhihit,G.

45. Lam ths sole cyner, diroctor and shareholder of Fhe Wave Studfo PTE, LTD,
(formetiy known as Fhe Wave Design PTE, 111).

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 105 of 120

i6. The Wave Studio PETE. LID. (farmedy known as The Waye Dedign PLE,
LUD,), owned ali right, Glle, and interest worldwide, including copyrights, in anc
la certain photographs (the “Wave Studio PFE Photographs”), including the
photegizphs repistered at the. US, Copyright Office under the following
Registration Numbers; :

ay VA 1-932-326
b) WA 1432-327
6) VA 1-432-330
d) VA 1-432-332
2) VA-432-637

f VA 1-765-854
BR) VA1-824-376
h} YA 4-825-249
i} VA 1-825-264
.j} VA 1-829.02)..
k) VA 1-842-228
iy} VA [-055-458
m) YAu 1-955-459
u) VAu 1-060-150
0} VaAu 1-110-867
a} VAuI-144-751

{colicolively, the “Wave Studio PTE Copyright Registrations”)

17. On oF around September 1, 2011, { formed ‘The Wave Studio LLC,  lirnited
liabitity company organized under the laws of the Stars of New York.-

18. Tart the sole owner, member, and manager of The Wave Stotiia LLC.

Previous Assignments of Copyright

19, A purported assignment of copyright from Wave-S co The Wave Design PTE,
LED wus entered into and was made elfcotive as of February 15, 2007, On
inforruation and belief, this assigament was inade in error and is void wi ititio. A
tre and corrve! copy of this assignment is attached as Extibis A.

2, A purported assignment of copyright from The Wave PIE. LTD, to The Wave
Studio ITE. ETD. was cutered into and was madu effective as oF July 2%, 2008.
On information and belicf, this assignmert wag made im cfrur and is void ab

‘infile. A true and correct copy of this assignment is etlacked as ixhibis T

21. Qn November 11, 201.1, a purported assizmnent. of copyright from Wave-$ to

The W¥ave Studio LL was entered into, On information und belief, this
assignment was made iu exror and is void ab initio, together with aay and all

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Case 7:13-cv-09239-CS-VR Document 182-2 Filed 05/06/16 Page 106 of 120

22.

- this-Catch-Aj} Assignment wero correc, this document omnitted thal the nuge pry

2s,

recurdation(s) of the same with the U.S. Capyright Office, Indeed, ait tangible and
intangible assets owned by Wave-§ had already becu tcansferred to me as of
February 21, 2007. A true and corer copy of Lis assietwnent is attached as
Exhibit d.

On November 11, 2011, @ pocperted assignment of copyright from The Wave
PTH, LEW, to ‘Phe Wave Studio LOC was entered into, On intonation aud
belied, this assignment was made in exres und i void ut initio, together with any
and ai] recordstion(s) of the same wilh the U.S. Copyright Office, Indoed, atl
tangible and intangible assots owned by The Wave PTE, £70, had already been
transleared to ae as of Anges: 1, 2008. A true and eosrect copy of tis aysignment

is attached ag Exhibit I.

. Or January “/, 2013, 1 executed a Declaralion and Nuac Pro Tune Assignment of

Capytight to The Wave Stixtio, LiL, which was secorded al. Sie U.S. Copyeight
Office va April 22, 2013 (the wg Tutch-All Asalgnment”}, While the facts stated in

tune assignments of all copyrights owaed by me (upan dissolution of Wave-8 and
‘fhe Wave PTR, LTD. and by ‘The Wave Stadio PTR, LTD wore ctfoctive as
of November 41, 2011. This present Declaration serves to complete and clarity
the Catch-Alt Assignment. A trae and correct copy of this sasignoveat is attached
as Bxhibit L. :

Qu or around Ceiober 1, 2043, Mr. Masano Kawans vutered into a Memorandent

of Understanding and Ownership (“MOU”), wliereby he coufinmed that all
photographs resulting trom the 200-2007 shoots he participated in for oe aud the
various Wave entities were jatended te be work mads for hise for me, and that Lhe
copyrights in those photagrephs was exctusively owned by me al the tine of their
crealion Cinchudiug withone limitation, photoshouts cclaiing to The Chedi Phuket,
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‘The Chedi Museal, The Leela Goa, The Chedi Club Ubud Bali, ire Chedi Chiang,
Mai, ‘The Setad Mimi, The Datni Langkawi, ‘he Andaman J anpkawi, The Nam
Vai Fai An Viemam, Cercosa Seri Negara Kuala Lumpur, The Chedi Milan, Tho
Sevai Club Jimbaran Bali, The Heritage House Mendogina, Langsusn Aparitueat
Bangkek, Seah Street Singapore, GHM Boutique Products and The Mullerton
Hotel, Singapore) (caviectively, the “2000-2007 Photographs’). On May 18,
215, £ executed « Confirmation of Assiymment of Copyright, confirming the
terms af the MOU, which were recorded at the U.S. Copyright Office on May 18,
2015. Truc and correct copies of these documents ate attached as Bxhibit 1.

Nune Pra Touce Assiguments of Copyrights

On November 11, 2031, fhe Wave Design PTE, LTD. entored into an
assignment of capyrlghts, whereby The Wave Design FTE, WTD, assigned its
righlx, tle and interest worldwide in the foliowing, capyright lo The Wave
Studie LLC:

TYVSS385775

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Lee ar Yin, Owner
The Wave Studio FYE. LIV

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Exhibit S
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